
16 N.Y.2d 637 (1965)
B. Manuel Gutfreund, Respondent,
v.
Henry D. Russ, Appellant, et al., Defendants.
Court of Appeals of the State of New York.
Argued April 13, 1965.
Decided May 27, 1965.
Lawrence Pomeroy and James P. O'Neill for appellant.
John M. Hadlock and Robert S. Newman for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order affirmed, with costs. Question certified answer in the affirmative. (See Longines-Wittnauer Watch Co. v. Barnes &amp; Reinecke, 15 N Y 2d 443, also decided today.) No opinion.
